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mwecoast@aol.com

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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

BOARD OF TRUSTEES OF THE
KERN COUNTY ELECTRICAL
PENSION FUND, BOARD OF

Case No. 08 CV-00498-LJO-JLT

TRUSTEES OF THE KERN COUNTY
ELECTRICAL WORKERS HEALTH
& WELFARE TRUST, AND BOARD
OF TRUSTEES OF THE KERN
COUNTY ELECTRICAL
JOURNEYMAN AND

APPRENTICE TRAINING TRUST,

Plaintiffs,

Vv.

CHRISTOPHER BURGONI, an
individual, and doing business as

ALPHA OMEGA ELECTRIC;
TADOC ENTERPRISES, INC., a
California corporation doing business
as ALPHA OMEGA ELECTRIC;
FULCE ENTERPRISES, INC., a
California corporation, and DOES 1
through 50, inclusive,

Defendants.

I, Michael Surowitz, declare as follows:

EED/cl/1155.15C)-wpd

DECLARATION OF MICHAEL
SUROWITZ IN SUPPORT OF
PLAINTIFFS’ APPLICATION FOR
DEFAULT JUDGMENT BY COURT

Hearing Date: June 1, 2012

Time: 9:00 am

Courtroom: SuiteA |

Judge: Hon. Jennifer Thurston

Complaint Filed: April 10, 2008

l. T am employed as an auditor with Compliance Verification, Inc., the
auditing firm employed by the Kern County Electrical Workers Trust Funds,

comprised of the Kern County Electrical Pension Fund, Kern County Electrical

Dec.of Michael Surowitz In Sup. Of Plaintiffs’ App. For Default Judgment

Case No. 08 CV-00498-LIO-JLT

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Pase 1:08-cv-00498-LJO-JLT Document 64-3 Filed 04/27/12 Page 2 of 22

Workers Health & Welfare Trust, and the Kern County Electrical Journeyman and
Apprentice Training Trust for the purpose of auditing the books and records of Alpha
Omega Electric. I am familiar with the facts stated herein and if called upon as a
witness, I could and would competently testify thereto.

2. I was asked by Plaintiffs to audit the books and records of
Defendant Christopher Burgoni, doing business as Alpha Omega Electric, for the time
period of July 6, 2000 through December 31, 2007. I was also asked to audit the
books and records of Tadoc Enterprises, doing business as Alpha Omega Electric,
and Fulce Enterprises, Inc., doing business as Technology Distribution Company. I
was asked to audit all three entities as a result of Plaintiffs finding evidence that all
three entities were performing work as Alpha Omega Electric, and/or being used by
Defendant Burgoni to evade his obligations under his Collective Bargaining
Agreement (“CBA”) that obligated him to pay fringe benefit contributions to
Plaintiffs.

3. My review of the entities’ books and records indicated that from the
beginning of my audit review period up until October, 2006, Defendant Burgoni,
doing business as Alpha Omega Electric, subcontracted work covered by the CBA
to an individual named Doug Kennedy, and Fuice Enterprises, Inc., doing business
as Technology Distribution Company. Fulce Enterprises, Inc. was owned by an
individual named Neil Fulce. On October 6, 2006, Defendant Burgoni brought on
Neil Fulce as a business partner for Tadoc Enterprises, Inc., and continued doing
business under the name Alpha Omega Electric.

4, Based on the common ownership and work performance of the
aforementioned individuals and entities, and given that all entities performed work
under the operation, control and name of Alpha Omega Electric, Section 2.42 of the
CBA allows the Trust Funds to collect contributions for all hours of covered work
performed under the CBA by the entities commonly owned. Please see Page 8 of the
CBA, a true and correct copy of which is attached hereto as Exhibit “A”.

2.
Dec.of Michael Surowitz In Sup. Of Plaintiffs’ App. For Default Judgment Case No. 08 CV-00498-LJO-JLT

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5. My review of the Defendants’ books and records also found that
Defendant Burgoni’s subcontracting of covered work to Doug Kennedy and Fulce

Enterprises violated Section 2.25 of the CBA, which prohibits the subletting,

assigning or transfer by an employer of any work covered by the CBA to any

individual or organization that is not also signatory to the CBA. Please see Page 6
of Exhibit “A”.

6. Based on my review of the Defendants’ books and records, I
determined that Alpha Omega Electric owed contributions for the following:

a. $3,632.63 for contributions owed for hours of work performed
by Doug Kennedy, as a result of Alpha Omega’s hiring of Doug Kennedy in
violation of the CBA, for the time period of August 2004 through October 2004.
Please see the column for “Schedule A” on my audit report, attached hereto as
Exhibit “B”. .
b. $85,414.18 for contributions owed for hours of work performed
by Fulce Enterprises, as a result of Alpha Omega’s hiring of Fulce Enterprises in
violation of the CBA, for the time period of June 2004 through November 2006.
Please see the column for “Schedule B” on my audit report attached hereto as
Exhibit “B”.

ce. $151,214.67 for contributions owed for hours of work performed
by Tadoc Enterprises, Inc., under the payroll of Alpha Omega Electric, for the time
period of June 2006 through December 2007. Please see the column for “Schedule
C” on my audit report attached hereto as Exhibit “B”.

7. In total, the defendants known and commonly operating as Alpha
Omega Electric owe $240,261.48 in contributions to Plaintiffs for the time period _
of August 2004 through December 2007.

8. Because the Trust Agreements provide for the assessment of liquidated
damages at the rate of ten percent (10%) for all delinquent contributions owed to

Plaintiffs, I calculated liquidated damages as follows:

Dec.of Michael Surowitz In Sup. Of Plaintiffs’ App. For Default Judgment Case No. 08 CV-00498-LJO-JLT

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Case 1:08-cv-00498-LJO-JLT Document 64-3 Filed 04/27/12 Page 4 of 22

a. . $363.63 for contributions owed for hours of work performed by
Doug Kennedy, as a result of Alpha Omega’s hiring of Doug Kennedy in violation
of the CBA, for the time period of August 2004 through October 2004. Please see
the column for “Schedule A” on my audit report, attached hereto as Exhibit “Br,

b. $8,541.42 for contributions owed for hours of work performed
by Fulce Enterprises, as a result of Alpha Omega’s hiring of Fulce Enterprises in
violation of the CBA, for the time period of June 2004 through November 2006.
Please see the column for “Schedule B” on my audit report attached hereto as
Exhibit “B”.

c. $15 5121.47 for contributions owed for hours of work performed
by Tadoc Enterprises, Inc., under the payroll of Alpha Omega Electric, for the time
period of June 2006 through December 2007. Please see the column for “Schedule
C” on my audit report attached hereto as Exhibit “B”.

9. In total, the defendants known and commonly operating as Alpha
Omega Electric owe $24,026.15 in liquidated damages to Plaintiffs for the time
period of August 2004 through December 2007.

10. I billed Plaintiffs $3,358.47 for my services in performing this audit
and preparing my attached audit report. A true and correct copy of my billing
statements is attached hereto as Exhibit “C”.

ll. Cumulatively, Alpha Omega owes $267,646.10, inclusive of
contributions, liquidated damages, and audit fees,

I declare under penaity of perjury under the laws of the State of California
that the foregoing is true and correct and this declaration was executed on this 25)

day of April 2012, at San Diego, California.

/s/Michael Surowitz (original signature retained by attorney)
Michael Surowitz

-4-
Dec.of Michael Surowitz In Sup. Of Plaintiffs’ App. For Default Judgment Case No. 08 CV-00498-LJO-ILT

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607-2010 NECAIBEW INSIDE AGREEMENT

AGREEMENT

_ Agreement by and between the Kern County Chapter of the National Electrical Contractors
Association (NECA) and Local Union 428, IBEW.

It shall apply to all firms whe sign a Letter of Assent to be bound by the terms of this Agreement.

As used hereinafter in this Agreement, the term "Chapter" shall mean the Kem County Chapter
N.E.C.A,, Inc. and the term "Union" shall mean Local Union 428, LB.E.W.

The term "Employer" shall mean an individual firm who has been recognized by an assent to
this Agreement,

BASIC PRINCIPLES

The Employer and the Union have a comnion and sympathetic interest in the Electrical Industry.
Therefore, a working system and harmonious relations are necessary to improve the relationship
between. the Employer, the Union and the Public. Progress in Industry demands a mutuality of
confidence. between the Employer and the Union. All will benefit by continuous peace and by -
adjusting any differences by rational, common sense methods. In accordance with Federal
Government Executive Orders, the Fair Employment Practices Act of the State of California, and
other applicable laws, the parties to this Agreement are obligated not to discriminate against any
employees, orapplicants for employment, because of race, Sex, age, creed, color ornational origin.
Now, therefore, in consideration of the mutual promises and agreements hercin contained, the
parties hereto agree as follows:

ARTICLE I
EFFECTIVE DATE - CHANGES - TERM OF AGREEMENT

Sec. L041. EFFECTIVE DATE: This Agreement shall take effect December 1, 2007, and shall
remain in effect until November 30, 2010, unless otherwise specifically provided for herein. Itshall
continue in effect from yearto year thereafter, from December 1 through November 30 ofeach year,
unless changed or terminated in the way later provided herein.

Sec. 1.02. CHANGES AND TERMINATION:

(a) Either party or an Employer withdrawing representation from the Chapter or not
represented by the Chapter, desiring to change or terminate this Agreement must provide written
notification at least 90 days prior to the expiration date of the Agreement or any anniversary date
occurring thereafter.

(b) Whenever notice is given for changes, the nature of the changes desired must be
specified in the notice, orno later than the first negotiating meeting unless mutually agreed otherwise.

(c) The existing provisions of the Agreement, including this Article, shall remain in full
force and effect until a conclusion is reached in the matter of proposed changes.

EXHIBITA 8
200T2QUINECA-BBESE _ENSIRE AGREEMENE-3 Filed 04/27/12 Page 9 of 226

hand tools if it is proved that such loss or breakage is due to egregious negligence,

Sec, 2,22. Employees will not be required to ride in, or on truck beds, or similar arrangements
except in trucks with suitable seating arrangements, which are safe from loose tools or material.
Other transportation aiso shall be safe from loose tools and materials,

Sec, 2.23. Vehicles transporting workers shall not be driven in violation of the State Vehicle
Code and/or Highway laws.

Sec. 2.24. SIGNS ON VEHICLES: Company vehicles used by workers employed under the
terms of this Agreement shall have visible on each side, permanent sigus, seals, decals or stickers
not less than thirty-six (36) square inches in area.

Sec. 2.25. ANNULMENT -SUBCONTRACTING: The Local Union isa part of the Intemational
Brotherhood of Electrical Workers and any violation or annulment by an individual Employer of the.
approved Agreement ofthis orany other Local Union ofthe IBEW, other than violations of Paragraph
2 of this Section, will be sufficient cause for the cancellation of his Agreement by the Local Union
after a finding has been made bythe International President ofthe Union that such a violation or
annulment has occurred.

The subletting, assigning or transfer by an individual Employer of any work in connection with |
electrical work to any person, firm or corporation not recognizing the .B.E.W. or one of its Local
Unions as the collective bargaining representative of his employees on any electrical work in the
jurisdiction of this or any other Local Union to be performed at the site of the construction,
alteration, painting, or repair of a building, structure or other work, will be deemed a material breach
of this Agreement.

All charges of violations of Paragraph 2 of this Section shall be considered as a dispute and shall
be processed in accordance with the provisions of this Agreement covering the procedure for
the handling of gricvances and the final and binding resolution of disputes.

Sec. 2.26. No Employer shall contract with employees any part of the labor services required by any
work governed by this Agreement.

Sec. 2.27, No Employer shall sublet or contract ta another Employer for the purpose of eliminating
travel pay or subsistence.

Sec. 2.28. The Employer shall not loan workers in his employ to any other Employer.

Sec. 2.29. No Employer or worker employed under the terms ofthis Agreement shall give or
accept directly or indirectly any rebate of wages. An Employer found violating this provision shall
_ be subject to having this Agreement terminated upon written notice thereof being given by the
Union,

Sec, 2.30, The Union reserves the right to discipline its members for violation of its laws, rules and
agreements,

Sec. 2.31, FAVORED NATIONS: The Union agrees that if, during the life of this Agreement, it
EXHIBIT A
200 #2010 RECOGBEY. BRSEDE AGRERMTESZ 3 Filed 04/27/12 Page 10 of 228

is laid off due to a reduction in force. Any Employer desiring to discharge a Steward shall notify the
Union prior to taking such action.

Sec.2.38. The Union Representative may check weekly payroll checks.

Sec.2.39. POLICY: The policies of the parties to this Agreement include the recognition of the
obligation fo the public for maximum quality and basic economy; the continuance of the intellectual
and material advancement of the Electrical Construction Industry of Kern County, through improved
Apprentice, Journeyman, and Employer work shops and study courses, and by other means; and the
use of materials, fixtures and equipment manufactured, processed or repaired under economically
sound wage, hour, and working conditions specified in the I.B.E.W. Collective Bargaining
Agreements.

Sec.2.40. STRIKE, WORK STOPPAGE: The Union will take every reasonable means within their
' power to induce employees engaged in a strike, work stoppage, or slowdown in violation of this
Agreement to return to work; but the Union, their officers or represeniatives shall not be held
responsible for any strike, work stoppage, or slowdown which, the Union, their officers or
representatives shall have expressly forbidden or declared in violation thereof.

Sec.2.41. WORKMANSHIP:

(a) Workers shall install all electrical work in a safe and workmanlike manner and in
accordance with applicable code and contract specifications.

(b} The Employer may require the Journeyman to make corrections on improper
workmanship for which the employee is responsible, on the employee’s own time and during regular
working hours, unless errors were made by orders ofthe Employer, or the Employer’s representative.

{c} When an Employer or his representative instructs a worker to install or perform work
in violation ofthe prevailing Electrical Codes, the worker shall sa notify the Union office immediately.

Sec.2.42, WORK PRESERVATION:

(a) In order to protect and preserve, forthe employees covered by this Agreement, all work
heretofore performed by them, and in order to preventany device or subterfuge to avoid the protection
and preservation ofsuch work, itis hereby agreed as follows: Ifand when the Employer shall perform
any on-site construction work of the type covered by this Agreement, under its own name or under
the name of another, as a corporation, company, partnership, or any other business entity including a
joint venture, wherein the Employer, through its officers, directors, partners, orstockholders, exercises
either directly or indirectly, management control or majority ownership, the terms and conditions of
this Agreement shall be applicable to all such work, All charges or violations of this Section shall be
considered as a dispute and shall be processed in accordance with the provisions of this Agreement
covering the procedure forthe handling of grievances and the final and binding resolution of disputes.

(b) As a remedy for violations of this Section, the Labor-Management Committee, the

EXHIBIT A

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Council on Industrial Relations for the Electrical Contracting Industry, and/or an independen
arbitrator, as the case may be, are empowered, in their discretion and at the request of the Union, tt
require an Employer to (1) pay to affected employees covered by this Agreement, including registerec
applicants for employment, the equivalent of wages lost by such employees as a result of th:
violations; and (2) pay into the affected joint trust funds established under this Agreement arm
delinquent contributions to such funds which have resulted from the violations, Provision for thi. .
remedy herein.does not make such remedy the exclusive remedy available to the Union for violatios

. of this Section nor does it make the same or other remedies unavailable to the Union for violations o
other Sections or other Articles of this Agreement. ,

(c) If, as a result of violations of this Section, it is necessary for the Union and/or th
‘Trustees of the joint trust funds to institute court action to enforce an award rendered in accordanci

with subsection (b) above, orto defend an action which seeks to vacate such award, the Employershal

pay any accountants’ and aftomneys' fees incurred by the Union and/or Fund Trustees, plus cost of thi
litigation, which have resulted from the bringing of such court action.

ARTICLE UL
’ HOURS - WAGES - WORKING CONDITIONS

Sec. 3.01. WORK DAY - WORK WEEK: Eight (8) hours between the hours of 6:00 AM anc
6:00 PM shall constitute a workday. Forty (40) hours within five (5) days: Monday througt
Friday inclusive shall constitute the workweek, Starting time shall be established for at least five (5
consecutive days in duration. Variations of starting time shall not be used as ameans to circumyen
overtime pay.

Sec. 3.02. AFL-CIO: If two or more Kern County AFL-CIO crafts adopt a shorter work day
or work week during the term of this Agreement, then either party may open the Agreement, or
the annual opening date for negotiations for shorter work day and/or week.

Sec. 3.03. REPORTING TIME: An Employee shall not report to a job site earlier than fifteer
(15) minutes before starting time, and shall leave at quitting time.

Sec, 3.04, TIME CLOCKS: When time clocks are required by the customer or the Employer
employees shall punch such time clocks on the Employer's time.

Sec. 3.05. SECURING CLEARANCES: All job processing, or security and automobik
clearance, shall be obtained and performed on the Employer's time as time worked, unless the
employee was informed of such requirements and failed to meet them.

Sec. 3.06, LUNCH AND REST PERIODS:

{a) A lunch break of one half (1/2) hour shall be established between the hours o:
10:00 AM and 2:00 PM for the purpose of uniformity on the job or workplace. Subsequent lunct
breaks will be taken in proportion tothe employce's starting time and the first or established lunct
break. The first lunch break shall be on the employee's time.

(b} Employees required to work through the first lunch period shall be paid at the
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Case NECATHEN INSIDE ACRTRMEGIE Filed 04/27/12 Page 12 of 233

Signed for the Association: Signed for the Union:

KERN COUNTY CHAPTER LOCAL UNION #428

NATIONAL ELECTRICAL INTERNATIONAL BROTHERHOOD
CONTRACTORS ASSOCIATION, INC, OF ELECTRICAL WORKERS

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President ,_ MUL. President

Ch, A. Chilko ele Kane
Chapter Manager Business Manager

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Date Date

EXHIBIT. A

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Case 1:08-cv-00498-LJO-JLT Document 64-3 Filed 04/27/12 Page 13 of 22
ALPHA OMEGA ELECTRIC

July 6, 2000 to December 31, 2007

COMMENTS

The following comments are an integral part of this report. They will
assist in understanding the attached Schedules as well as the procedures
utilized in arriving at the total amount due:

Schedule A. Schedule Of Subcontracting - Cash Disbursements

This Schedule -relates to hours and wages under-reported due to not.
reporting subcontracted work to Doug Kennedy, who performed covered
work for the company. Totals are transferred to the Statement Of
Amount Due. See the attached Schedule for additional information. |

Schedule B. Schedule Of Hours and Wages Under-Reported - Technology
Distribution Company Omissions

This Schedule reflects hours under-reported relative to employees who
performed covered work and were not reported to the Trust Fund during
the period examined. Totals are transferred to the Statement Of
Amount Due.

Schedule C. Schedule Of Hours and Wages Under-Reported - Alpha Omega
Electric Omissions

This Schedule reflects hours under-reported relative to employees who
performed covered work and were not reported to the Trust Fund during
the period examined. Totals are transferred to the Statement of
Amount Due.

Statement Of Amount Due

The totals from the Schedules are transferred to this Statement. It
summarizes the amount due each Fund, accounts for liquidated damages
and arrives at the total amount due segregated by Schedule.

EXHIBIT B 13
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Case 1-08-cv-00498-Ld0

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ALPHA OMEGA ELECTRIC
STATEMENT OF AMOUNT DUE
JULY 6, 2000 TO DECEMBER 31, 2007

SCHEDULE

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PENS TON

8/04-10/04
6/04-11/04
12/04-5/05
6/05-11/05
12/05-5/06
6/06~-11/06
6/06-11/06
12/06-5/07
6/07-12/07

PAGE 1. OF 4

TOTAL: PENSION

H& W
8/04-10/04
6/04-11/04
12/04-5/05
6/05-11/05
12/05-5/06
6/06-11/06
6/06-11/06
12/06-5/07
6/07-12/07

TOTAL: Héw

SUB-TOTALS FORWARD...

AMOUNT DUE
TOTAL SCHEDULE A SCHEDULE_B SCHEDULE C
UNDER- SUBCONTR.-CD TDC OMISSSIONS AOE OMISSIONS TOTAL
REPORTED RATE JOURNEYMAN JOURNEYMAN JOURNEYMAN AMOUNT DUE
277.39 $4.95 $ 1,123.43
172.00 4.05 $ 696.60
961.00 4.05 3,892.05
1,732.25 4.05 7,015.61
2,358.45 4.80 11,320.56
1,115.50 5.55 6,191.03
2,334.50 5.55 $ 12,956.48
4,158.00 6.15 25,571.70
3,400.00 6.15 20,910.00
$1,123.43 § 29,115.85 $ 59,438.18 $ 89,677.46
277.39 $5.20 $ 1,442.43
172.00 5.20 $ 894.40
961.00 6.00 5,766.00
1,732.25 6.64 11,502.14
2,358.45 6.64 . 15,660.11
1,115.50 6.64 7,406.92
2,334.50 6.64 $ 15,501.08
4,158.00 6.64 27,609.12
3,400.00 6.59 22,406.00
$1,442.43 $§ 41,229.57 $ 65,516.20 108,188.20
$ 2,565.86 § 70,345.42 S$ 124,954.38 S$ 197,865.66

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EXHIBIT B
-JLT Document 64-3 Filed 04/27/42 Page 15 of 22

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ALPHA OMEGA ELECTRIC
STATEMENT OF, AMOUNT DUE

JULY 6,

SCHEDULE

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FORWARDED...

APPR.

8/04-10/04
6/04-11/04
12/04-5/05
6/05-11/05
12/05-5/06
6/06-11/06
6/06~11/06
12/06-5/07
6/07-12/07

TOTAL
UNDER-

REPORTED.

8,000.00
3,440.00

961.00
1,732.25
2,358.45
1,215.50
2,334.50
4,158.00
3,400.00

TOTAL: APPR.

NEBP

8/04-10/04
6/04+11/04
12/04-5/05
6/05-11/05
12/05-5/06

°6/06-11/06

6/06-11/06
12/06-5/07
6/07-12/07

TOTAL: NEBF

8,000.00

3,440.00
13,422.50
24,623.75
36,631.40
16,885.00
38,764.75
72,928.50
62,091.00

SUB-TOTALS FORWARD...

2000 TO DECEMBER 31, 2007

PAGE .2 OF 4

Ww
=
AMOUNT DUE
SCHEDULE A SCHEDULE B SCHEDULE C
SUBCONTR..-CD TDC OMISSSIONS AOE OMISSIONS TOTAL
RATE JOURNEYMAN JOURNEYMAN * JOURNEYMAN AMOUNT DUE
$2,565.86 $ 70,345.42 $ 124,954.38. S$ 197,865.66
2.808 $ 224.00
2.80% $ 96.32
$0.80 768.80
0.80 1,385.80
0.80 1,886.76
0.80 892.40
0.80 S$ 1,867.60 me
0.80 3,326.40 oO
0.80 2,720.00
$ 224.00 S$ 5,030.08 S$ 7,914.90 13,168.08 =
cr}
3.00% $ 240.00
3.008 $ 103.20
3.008 402.68
3.008 738.72
3.00% 1,098.94
3.008 506.55
3.00% $ 1,162.94
3.008 2,187.86
3.008 1,862.73
$ 240,00 $ 2,850.08 § 5,213.53 8,303.61
$ 3,029.86 $ 78,225.58 $ 138,081.91 $ 219,337.35
-JLT Document 64-3 Filed oaloiit Page 16 of 22

Case 1-08-¢v-00498-30

ALPHA OMEGA ELECTRIC
STATEMENT OF AMOUNT DUE —

JULY 6, 2000 TO DECEMBER 31,

qaana wv out ep

qandqavwvwd ww pb

~ SCHEDULE
FORWARDED...

AME
8/64-10/04
6/04-11/04
12/04-5/05
6/05-11/05
12/05-5/06
6/06-11/06
6/06-11/06
12/06-5/07
6/07-12/07

TOTAL: AMF

NLMCC

8/04-10/04
6/04-11/04
12/04-5/05
6/05-11/05
12/05-5/06
6/06-11/06
6/06-11/06
12/06-5/07

-6/07-12/07

2007
TOTAL
UNDER-
REPORTED RATE
8,000.00 1.508
3,440.00 1.50%
13,422.50 1.50%
24,623.75 1.50%
36,631.40 1.508
16,885.00 1.50%
38,764.75 1.50%
72,928.50 1.50%
62,091.00 1.50%
277.39 $0.01
172.00 0.01
961.00 0.01
1,732.25 0.01
2,358.45 0.01
1,115.50 0.01
2,334.50 0.01
4,158.00 0.01
3,400.00 0.01

TOTAL: NLMCC

SUB-TOTALS FORWARD...

PAGE 3 OF 4

AMOUNT DUE 1
SCHEDULE A SCHEDULE B SCHEDULE C ™
SUBCONTR.-CD TDC OMISSSIONS AOE OMISSIONS TOTAL
JOURNEYMAN JCURNEYMAN JOURNEYMAN _ AMOUNT DUE
$3,029.86 $ 78,225.58 S$ 138,081.91 $ 219,337.35
S$. 120.00
$ 51.60
201.34
369.36
549.47
253.28
$ 581.47
1,093.93
931.37 n
$C 120.00 $ 1,425.05 S$ 2,606.77 4,151.82 :
$ 2.77 4
s 1.72
3.61
17.32
23.58
11.16
, $ 23.35
41.58
34.00
$ 2.77 §$ 63.39 §$ 98.93 - 165.09

$ °3,152.63 $ 79,714.02

S$ 140,787.61

‘S$ 223,654.26
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Case 1:08-cv-00498-L.J

ALPHA OMEGA ELECTRIC
STATEMENT OF AMOUNT DUE
JULY 6, 2000 TO DECEMBER 31, 2007

PAGE 4 OF 4

AMOUNT DUE
TOTAL SCHEDULE A SCHEDULE B SCHEDULE C
UNDER- SUBCONTR.-CD TDC OMISSSIONS AOE OMISSIONS TOTAL
SCHEDULE REPORTED RATE JOURNEYMAN JOURNEYMAN JOURNE YMAN AMOUNT. DUE
EQRWARDED... $ 3,152.63 S$ 79,714.02 § 140,787.61 $ 223,654.26
DUES .
A 8/04-10/04 8,000.00 6.00% $ 480.00
B 6/04-11/04 3,440.00 6.00% $ 206.40
B 12/04-5/05 13,422.50 6.00% 805.35
B 6/05-11/05 24,623.75 6.00% 1,477.43
B 12/05-5/06 36,631.40 6.00% 2,197.88
B 6/06-11/06 16,885.00 6.00% 1,013.10
C 6/06-11/06 38,764.75 6.00% $ 2,325.89
C 12/06-5/07  72,928.50-° 6.00% 4,375.71
Cc 6/07-12/07 62,091.00 6.00% 3,725.46
TOTAL: DUBS $C 480.00 3 5,700.16 $10,427.06 16,607.22

TOTAL CONTRIBUTIONS DUS

LIQUIDATED DAMAGES -— 10%

TOTAL AMOUNT DUE

$ 3,632.63
363.26

S$ 85,414.18

8,541,

42

$ 151,214.67
15,121.47

$ 240,261.48

24,026.15.

$ 3,995.89

$

93,955.

$ 166,336.14

$ 264,287.63

SER COMMENTS

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17

EXHIBIT B
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ALPHA O@B6A tsoeacwerdoe-L3O-ILT DocuBeHEOUE Filed oaloTh2 Page 18°of 22
SCHEDULE OF SUBCONTRACTING - CASH DISBURSEMENTS
JULY 6, 2000 TO DECEMBER 31, 2007

Doug Kennedy

XXX-XX-XXXX
GROSS HOURS
AMOUNT CBA JNY. UNDER-
PAID WAGE RATE REPORTED
PERIOD: 8/04-10/04
8/6/2004 $1,600.00 $ 28.84 55.48
9/3/2004 1,600.00 28.84 - 55.48
9/16/2004 1,600.00 28.84 55.48
10/1/2004 - 1,600.00 28.84 55.48
10/15/2004 1,600.00 28.84 55.48
TOTAL UNDER-REPORTED
PERIOD: 8/04-10/04 $ 8,000.00 277.39

NOTE: HOURS UNDER-REPORTED ARE CALCULATED AS FOLLOWS:

(GROSS AMOUNT PAID) / (CBA JNY. WAGE RATE) = (HOURS UNDER-REPORTED)

TRANSFER TOTALS TO STATEMENT OF AMOUNT DUE

SEE COMMENTS

EXHIBIT B
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ALPHA OMEGA ELECTRIC

SCHEDULE B

SCHEDULE OF HOURS AND WAGES UNDER-REPORTED ~ TECHNOLOGY DISTRIBUTION COMPANY OMISSIONS
JULY 6, 2000 TO DECEMBER 31, 2007

QYOURNEYMAN

WR-WAGE RATS

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e

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r

Maggard, Jacob
XXX-XX-XXXX

Quintero, Daniel
XXX-XX-XXXX

Pineda, Merlin
XXX-XX-XXXX

Lee,

Gregory II

XXX-XX-XXXX

Wilson, Rebert
XXX-XX-XXXX

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& Wage Rate-$14.00

CrOTAL UNDER-REPORTED:

Case 1:08-cv

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TOTAL
UNDER=
6/04-11/04 12/04-5/05 6/05-11/05 12/05-5/06 6/06-11/06 REPORTED
172.00 161.50 333.50
$ 3,440.00 S$ 3,245.00 S 6,685.00
WR-$20.00 WR-520.00
389.50 285.75 72.00 289.00 1,036.25
§ 5,257.50 $ 4,286.25 $ 1,080.00 & 4,335.00 $14,958.75
WR-$15.00 WR-$515.00 WR-$15.00 WR-$15.00
410.00 969.50 996.00 398.00 2,773.50
$ 4,920.00 $12,335.00 614,968.00 §& 6,368.00 $38,591.00
WR-$12.00 WR-814,00 WR-$16.00 WR-$16.00
75.50 75.50
$ 1,177.00 $ 1,177.00
WR-$14.90
401.50 932.95 61.00 1,295.45
$ 6,825.50 $14,164.40 $ 1,037.00 $22,026.90
WR-$17.00 WR-$17.00 WR-$17.00
457.50 367.50 825.00
$ 6,419.00 $ 5,145.00 $11,564.00
WR-S14.00 WR-514.00
172.00 961.00 1,732.25 '2,358,45 1,415.50 6,339.20
3,440.00 13,422.50 824,623.75 $36,631.40 16,885.00 $95,002.65
TRANSFER TOTALS TO STATEMENT OF AMOUNT DUE

19

EXHIBIT B
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Case 1-08-cv-00498-40

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00° ST S—tM 00° STS-uM
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EXHIBIT B
Case 1:08-cv-00498-LJO-JLT MHAEDGUREMATZiled 04/27/12 Page 21 of 22

COMPLIANCE VERIFICATION, INC.
28026 DRY WELL CIRCLE

CASTAIC, CA 91384
TEL(661) 702-0343
FAX(661) 702-0403

January 2, 2009
Board of Trustees
Kern County Electrical Trust Funds

3068 .Sillect Avenue, Suite 100
Bakersfield, California 93308

STATEMENT

For professional services rendered relative to the following:

Alpha Omega Electric

Senior Auditor (13 3/4 hrs. @ $65.00) $§ 893.75
Senior Auditor {14 hrs. @ $75.00) 1,050.00
Office Administrator {5 1/4 hrs @ $50.00) 262.50
Driving Expense 87.17

Total amount due for professional services

rendered. $2,293.42

Services included:

Work performed conducting a compliance examination and preparing a
corresponding Compliance Verification Report.

Effective October 1, 2008, our Senior Auditor fees for conducting
compliance examinations had increased to $75.00.

EXHIBIT C 21
Case 1:08-cv-00498-LJO-JLT yRegenenikeWwerzFiled 04/27/12 Page 22 of 22

COMPLIANCE VERIFICATION, INC.
28026 DRY WELL CIRCLE

CASTAIC, CA 91384
TEL(661) 702-0343
FAX (661) 702-0403

March 3, 2009

Board of Trustees

Kern County Electrical Trust Funds
3008 Sillect Avenue, Suite 100
Bakersfield, California 93308

STATEMENT

For professional services rendered relative to the following:

Alpha Omega Electric - Meeting with Attorney

Senior Auditor (5 1/4 hrs. @ $75.00) $ 393.75
Office Administrator ( 1/2 hrs @ $50.00) 25,00
Driving Expense 77.55

Sub-Total S 496.30

Covenant Services, Inc. — Unable to Obtain Appointment

Senior Auditor ( 3 3/4 hrs. @ $65.00) § 243.75
Senior Auditor ( 1 hrs. @ $75.00) 75.00
Office Administrator (5 hrs @ $50.00) 250.00

Sub-Total / $ 568.75

Total amount due for professional services

rendered. $1,065.05

Effective October 1, 2008, our Senior Auditor fees for conducting
compliance examinations had increased to $75.00.

| EXHIBIT C 22
